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              In the United States Court of Federal Claims

                                                  )
 DONALD J. TRUMP FOR PRESIDENT,                   )
 INC., et al.,                                    )
                                                  )
                        Plaintiffs,               )              No. 20-1567C
                                                  )              (Filed: November 12, 2020)
         v.                                       )
                                                  )
 JOCELYN BENSON, et al.,                          )
                                                  )
                        Defendants.               )
                                                  )
                                                  )


                                              ORDER

       Earlier this afternoon, this Court issued an order directing the transfer of this case to the
United States District Court for the Western District of Michigan, ECF No. 4.

      Moments after the order was entered, Plaintiffs filed a motion to withdraw their
complaint. ECF No. 5. Plaintiffs stated that they had already filed the same complaint in the
Western District of Michigan (No. 20-01083). Plaintiffs further stated that “an electronic error in
the PACER electronic filing system” had caused the complaint to also be filed with this Court.
Id.

        In light of Plaintiffs’ representation that the complaint in this case has already been filed
with the district court, the Court VACATES its Order transferring the case to the Western
District of Michigan.

       There is no provision in the Rules of the Court of Federal Claims (RCFC) under which a
complaint may be “withdrawn.” The Court therefore directs the Clerk to treat plaintiffs’ motion
to withdraw as a notice of voluntary dismissal under RCFC 41(a)(1), and to dismiss the case
accordingly without prejudice.

       IT IS SO ORDERED.


                                                      s/ Elaine D. Kaplan
                                                      ELAINE D. KAPLAN
                                                      Judge
